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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X

AIU INSURANCE COMPANY,                  :

                  Plaintiff,            :     07 Civ. 7052 (SHS)(HBP)

      -against-                         :     OPINION
                                              AND ORDER
TIG INSURANCE COMPANY,                  :

                  Defendant.            :

-----------------------------------X


           PITMAN, United States Magistrate Judge:


I.   Introduction


           By notice of motion dated September 15, 2008, TIG

Insurance Company ("TIG") moves for partial reconsideration of my

Opinion and Order dated August 28, 2008 ("August 28 Order")

(Docket Item 233).     The August 28 Order granted in part and

denied in part AIU Insurance Company's ("AIU") motion to compel

the production of documents listed on TIG's privilege log as

withheld on the basis of the attorney-client privilege and the

work-product doctrine (Docket Item 40).        TIG now moves for

partial reconsideration with regard to twenty-five of the docu-

ments which I ordered produced.
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II.    Facts


       A.   Basis of
            Underlying Claims


             Familiarity with the facts contained in my August 28

Order is assumed.      I restate them here only to the extent neces-

sary for an understanding of the issues raised by the present

motion.

             AIU brings this action alleging breach of contract and

seeking declaratory relief for TIG's failure to pay amounts due

under four reinsurance contracts1 (the "Reinsurance Contracts")

(Complaint, dated Aug. 7, 2007 ("Compl.") ¶¶ 26-33).

             AIU issued four umbrella insurance policies to the

Foster Wheeler Corporation and its affiliates ("Foster Wheeler")

covering the period from October 1, 1978 to October 1, 1982

(Compl. ¶ 11).     AIU subsequently reinsured its exposure under the

umbrella insurance policies with International Insurance Company,

TIG's predecessor company, pursuant to the Reinsurance Contracts

(Compl. ¶ 12).     Under the Reinsurance Contracts, AIU is obligated



       1
      "A certificate of reinsurance is a contract between two
insurance companies in which the reinsured company agrees to cede
part of its risk to the reinsurer in return for a percentage of
the premium." Unigard Sec. Ins. Co., Inc. v. N. River Ins. Co.,
79 N.Y.2d 576, 582, 594 N.E.2d 571, 574, 584 N.Y.S.2d 290, 293
(1992). "[A] reinsurer's only obligation is to indemnify the
primary insurer[.]" Unigard Sec. Ins. Co., Inc. v. N. River Ins.
Co., supra, 79 N.Y.2d at 582, 594 N.E.2d at 574, 584 N.Y.S.2d at
293.

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to provide "[p]rompt notice . . . to [TIG] of any occurrence or

accident which appears likely to involve" the Reinsurance Con-

tract, and TIG is obligated to indemnify AIU for payments it

makes to Foster Wheeler pursuant to the umbrella insurance

policies (Certificate of Facultative Reinsurance Number CFR 0062,

dated Apr. 19, 1979 ("CFR 0062") at TIG 1163, ¶¶ B, C, annexed as

Exhibit 2 to Declaration of Julie Aldort, Esq., dated May 19,

2008 ("Aldort Decl.")).

          Foster Wheeler is a manufacturer of boilers and other

steam-generating and heat-exchange equipment and, since the late

1970s, it has been the subject of thousands of asbestos-related

personal injury claims (Compl. ¶ 18).      Because of these asbestos

claims, in February 2001, Foster Wheeler became engaged in

coverage litigation with its primary and umbrella insurers

(Compl. ¶¶ 18-19).   On June 30, 2006, Foster Wheeler and AIU

settled their claims and AIU began making payments to Foster

Wheeler pursuant to the settlement agreement (Compl. ¶¶ 20, 24).

On January 25, 2007, AIU sought reimbursement of these settlement

payments pursuant to the Reinsurance Contracts by submitting a

reinsurance claim to TIG and attaching the settlement agreement

between Foster Wheeler and AIU (Letter to Michael Staley of TIG,

dated Jan. 25, 2007, annexed as Exhibit 1 to Aldort Decl.).         This

letter was AIU's first notice to TIG that TIG faced potential

exposure under the Reinsurance Contracts for the Foster Wheeler


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asbestos claims (Amended Answer, dated Apr. 22, 2008 ("Am. Ans.")

¶ 18).

          TIG responded to AIU's January 25 letter by noting that

AIU has a duty to provide TIG with prompt notice of "any occur-

rence or accident which appears likely to involve" the Reinsur-

ance Contracts and requesting documentation regarding AIU's first

notice of Foster Wheeler's claims (TIG Letter, dated Feb. 2,

2007, annexed as Exhibit D the Declaration of Marc L. Abrams,

Esq., dated May 6, 2008 ("Abrams Decl."), quoting CFR 0062 at TIG

1163, ¶¶ B, C).   On February 12, 2007, TIG retained the law firm

of Butler Rubin Saltarelli & Boyd LLP ("Butler Rubin") to obtain

legal advice regarding TIG's rights and obligations under the

Reinsurance Contracts, to consider possible legal action against

AIU, and to prepare possible defenses to potential litigation

(Declaration of John Parker, Esq., dated May 19, 2008 ("Parker

Decl.") ¶ 13; Aldort Decl. ¶ 3).       Between February and May of

2007, Michael Staley, an Assumed Reinsurance Senior Claims

Specialist, and his manager, William Pascale, an Assumed Reinsur-

ance Senior Claims Manager (Parker Decl. ¶¶ 7-8) continued to

investigate AIU's claim for payment under the Reinsurance Con-

tracts by requesting documents from AIU.       In its correspondence

throughout this period, TIG continued to expressly reserve all

rights under the Reinsurance Contracts.




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           Apparently dissatisfied with the documents AIU pro-

vided, in May 2007, TIG requested an on-site audit of AIU's files

pursuant to the access-to-records clause in the Reinsurance

Contracts (Parker Decl. ¶ 20; TIG Letter, dated May 15, 2007,

annexed as Exhibit 6 to Aldort Decl.).      The purpose of the audit

was to identify information bearing on the timing of AIU's

knowledge of potential claims under the umbrella insurance

policies (Parker Decl. ¶ 20).     In July, 2007, Pascale and Joseph

Loggia, an outside consultant retained by TIG, reviewed AIU's

files (Parker Decl. ¶ 22).

           Thereafter, on August 7, 2007, AIU commenced this suit

against TIG, alleging that TIG had breached the Reinsurance

Contracts by failing to indemnify AIU for its share of the

settlement payments (Compl. ¶ 25).      In its Amended Answer, TIG

asserts a lack-of-prompt-notice defense, claiming that it is not

obligated to indemnify AIU because AIU breached the Reinsurance

Contracts by failing to provide TIG with prompt notice of AIU's

potential exposure for the Foster Wheeler asbestos claims (Am.

Ans. at 14).


     B.   The Present
          Discovery Dispute


           On November 12, 2007, AIU served its First Request for

Production of Documents on TIG (Aldort Decl. ¶ 8).        After an

initial production of documents, TIG withheld and redacted

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documents on the basis of attorney-client privilege and the work-

product doctrine, listing the documents in privilege and redac-

tion logs (TIG's Privilege Log, dated Mar. 25, 2008 ("Priv.

Log"), annexed as Exhibit M to Abrams Decl.; TIG's Redaction Log,

dated Mar. 25, 2008, annexed as Exhibit N to Abrams Decl.).

After a series of meet-and-confer sessions between counsel, AIU

filed the instant motion to compel.       On or about June 24, 2007, I

directed that the documents in issue be submitted to my chambers

for in camera review.

               After reviewing the documents in camera, I found that

many2 of the documents were not privileged attorney-client commu-

nications or attorney work-product and on August 28 I issued an

Order which directed the production of these documents.          TIG now

moves for partial reconsideration with respect to approximately

twenty five (25) of the documents that I ordered produced.


III.       Analysis


               The legal principles governing the attorney-client

privilege and the work-product doctrine are set forth in my

August 28 Order, familiarity with which is assumed.

               Motions for reconsideration are appropriate only in

limited circumstances.



       2
      I ordered the production of approximately 266 documents
from TIG's privilege and redaction logs.

                                     6
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               Motions for reargument "are granted when new facts
          come to light or when it appears that controlling
          precedents were overlooked." Weissman v. Fruchtman,
          658 F. Supp. 547 (S.D.N.Y. 1987). The proponent of
          such a motion is not supposed to treat the court's
          initial decision as the opening of a dialogue in which
          that party may then use [Local Civil Rule 6.3] to
          advance new facts and theories in response to the
          court's rulings. The purpose of the rule is "to ensure
          the finality of decisions and to prevent the practice
          of a losing party examining a decision and then plug-
          ging the gaps of a lost motion with additional mat-
          ters." Lewis v. New York Telephone, No. 83 Civ. 7129,
          slip op. at 2, 1986 WL 1441 (S.D.N.Y. 1986) cited in
          Carolco Pictures Inc. v. Sirota, 700 F. Supp. 169
          (S.D.N.Y. 1988).

McMahan & Co. v. Donaldson, Lufkin & Jenrette Sec. Corp., 727 F.

Supp. 833, 833 (S.D.N.Y. 1989); see also Mahmud v. Kaufmann, 496

F. Supp.2d 266, 269-70 (S.D.N.Y. 2007).      "A movant for reconsid-

eration bears the heavy burden of demonstrating that there has

been an intervening change of controlling law, that new evidence

has become available, or that there is a need to correct a clear

error or prevent manifest injustice."      Quinn v. Altria Group,

Inc., 07 Civ. 8783 (LTS)(RLE), 2008 WL 3518462 at *1 (S.D.N.Y.

Aug. 1, 2008), citing Virgin Airways v. Nat'l Mediation Bd., 956

F.2d 1245, 1255 (2d Cir. 1992).

          "[T]o be entitled to reargument under Local [Civil Rule

6.3, a party] must demonstrate that the Court overlooked control-

ling decisions or factual matters that were put before the Court

on the underlying motion."    Am. Alliance Ins. Co. v. Eagle Ins.

Co., 163 F.R.D. 211, 213 (S.D.N.Y. 1995), rev'd on other grounds,

92 F.3d 57 (2d Cir. 1996), citing Ameritrust Co. Nat'l Ass'n v.

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Dew, 151 F.R.D. 237, 238 (S.D.N.Y. 1993); Fulani v. Brady, 149

F.R.D. 501, 503 (S.D.N.Y. 1993), aff'd sub nom., Fulani v.

Bentsen, 35 F.3d 49 (2d Cir. 1994); East Coast Novelty Co. v.

City of New York, 141 F.R.D. 245, 245 (S.D.N.Y. 1992); B.N.E.

Swedbank, S.A. v. Banker, 791 F. Supp. 1002, 1008 (S.D.N.Y.

1992); Novak v. Nat'l Broad. Co., 760 F. Supp. 47, 48 (S.D.N.Y.

1991); Ashley Meadows Farm, Inc. v. Am. Horse Shows Ass'n, 624 F.

Supp. 856, 857 (S.D.N.Y. 1985).     Thus, "a party in its motion for

reargument 'may not advance new facts, issues or arguments not

previously presented to the court.'"      In re Integrated Res. Real

Estate Ltd. P'ships Sec. Litig., 850 F. Supp. 1105, 1151

(S.D.N.Y. 1994), quoting Litton Indus., Inc. v. Lehman Bros. Kuhn

Loeb, Inc., 86 Civ. 6447 (JMC), 1989 WL 162315 at *4 (S.D.N.Y.

Aug. 4, 1989), rev'd on other grounds, 967 F.2d 742 (2d Cir.

1992); accord Caribbean Trading & Fid. Corp. v. Nigerian Nat'l

Petroleum Corp., 948 F.2d 111, 115 (2d Cir. 1991); see also

Woodard v. Hardenfelder, 845 F. Supp. 960, 966 (E.D.N.Y. 1994).

A party should not use a motion for reconsideration "to reargue

those issues already considered when a party does not like the

way the original motion was resolved."      In re Houbigant, Inc.,

914 F. Supp. 997, 1001 (S.D.N.Y. 1996).

          TIG argues that reconsideration is appropriate because

the Court overlooked certain factual matters contained within the

twenty five disputed documents (TIG Insurance Company's Reply in


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Support of its Motion for Partial Reconsideration of my Opinion

and Order, dated Sept. 22, 2008, ("Def. Reply. Mem.") at 2, 4).

AIU opposes reconsideration because (1) "TIG's motion relies on

new, unsworn factual allegation that were never presented to the

Court"; (2) "the motion represents an attempt by TIG to rehabili-

tate an argument that the Court has already rejected"; (3) "the

Motion misreads the Order in a number of critical respects"3 (AIU

Insurance Company's Memorandum of Law in Opposition to TIG

Insurance Company's Motion for Partial Reconsideration ("Plf.

Mem.") at 1-2).

           I have considered the parties' submissions and re-

examined each of the twenty five disputed documents.         For pur-

poses of clarity, I address similar documents together.


     A.   Documents 97 and 158


           In my August 28 Order, I concluded that neither Docu-

ment 97 nor Document 158 were protected by the attorney work-




     3
      AIU is correct that TIG's Motion appears to misread the
August 28 Order in one critical respect. At several points in
its Memorandum, TIG argues that "having recognized that TIG
anticipated litigation by May 15, 2007" any document created
after this date should be considered protected work-product (Def.
Mem. at 9, 10, 12, 13). This is a fundamental misreading of my
August 28 Order in which I stated that I was not resolving any
work-product claims on the basis of a bright-line test but was
instead engaging "in a fact-specific inquiry to determine whether
each document was created in anticipation of litigation."
(August 28 Order at 34).

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product doctrine.4   Document 97 consists of "[h]andwritten notes

by Pascale reflecting discussion [of a conference call with

Butler Rubin, TIG's counsel] about 'late notice' issue(s) and

possible prejudice to TIG." (Schedule A annexed to the August 28

Order ("Schedule A"))    I found that there was "[n]o indication

[that the] document [was] created to assist Parker or Butler

Rubin [and that the d]ocument merely reflects notes from a

meeting" (Schedule A).    Similarly, Document 158 consists of

"[h]andwritten notes created by Pascale reflecting discussion at

conference call [with John Parker and Michael Staley of TIG and

Jim Rubin and Catherine Isely of Butler Rubin] and discussing

audit of AIU's records" (Schedule A).

          Upon re-examination, I have determined that lines 2-7

of Document 97 at Bates number PRIV 4643 and lines 1-6 of Docu-

ment 158 at Bates number PRIV 4641 memorialize Butler Rubin's

analysis regarding choice-of-law issues and counsel's assessment

of the potential damages recoverable in the case.        These lines

contain counsel's mental impressions and opinions regarding two

material legal issues in the case and are, therefore, protected

by the attorney work-product doctrine.       See generally, United

States v. Adlman, 134 F.3d 1194, 1197 (2d Cir. 1998) (Opinion

work-product which reveals the "mental impressions, conclusions,



     4
      TIG did not assert the attorney-client privilege with
regard to either of these documents (Priv. Log at 4, 6).

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opinions, or legal theories of an attorney" receives "special

protection"); In re John Doe Corp., 675 F.2d 482, 492-93 (2d Cir.

1982) (indicating that mental processes and legal theories are

"entitled to the greatest protection available under the

work-product immunity"); Sporck v. Peil, 759 F.2d 312, 316 (3d

Cir. 1985) (opinion work-product "is accorded an almost absolute

protection from discovery").

             Accordingly, reconsideration is granted, and upon

reconsideration, I find that lines 2-7 of Document 97 at PRIV

4643 and lines 1-6 of Document 158 at PRIV 4641 may be redacted

prior to production.


       B.   Document 188


             Document 188 is a email from Catherine Isely, a Butler

Rubin partner, to various TIG employees including John Parker,

Bill Pascale, Michael Staely, and Ann Weikers (Priv. Log at 12).

The email contains no text but does contain icons representing an

attached chart and memorandum which together constitute Document

189.    In my August 28 Order, I concluded that Document 188 was

not protected by the work-product doctrine or the attorney-client

privilege but that Document 189 was protected under both doc-

trines (Schedule A; August 28 Order at 27, 35).

             The two icons in Document 188 display the titles of the

attachments which make up Document 189.       The titles of these two


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documents reveal the focus of the legal work performed by Butler

Rubin in order to provide legal advice to TIG and, therefore,

disclose attorney work-product.      See United States v. Philip

Morris USA, Inc., CIV. A. 99-2496 (GK), 449 F. Supp.2d 1, 943,

2006 WL 2380681 at *6 (D.D.C. Aug. 17, 2006) ("Defendants may

withhold the title of documents withheld on grounds of privilege

if the document title, without reference to the document's

contents, reveals privileged information").

            Accordingly, I find that the titles of the two attach-

ments to Document 188 may be redacted prior to production.


     C.    Documents 198, 199, and 200


            Documents 198, 199, and 200 contain a series of emails

regarding the scheduling of a conference between Catherine Isely,

James Rubin, and Bob Hermes from Butler Rubin and Ann Weikers,

and John Parker from TIG (Priv. Log at 8).       In my August 28 Order

I found that these documents were not protected by the attorney-

client privilege because they were not primarily of a legal

nature.5

            Upon re-examination, I find that these document contain

confidential communications between Butler Rubin attorneys and

their client for the purpose of rendering legal services.



     5
      The work-product doctrine was not asserted with respect to
these documents (Priv. Log at 8).

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Although the focus of the email chain is on scheduling issues, at

one point the parties discuss the documents that they will need

to review in preparation for a meeting with a witness in this

case (see Document 198, Bates number PRIV 6026).        Therefore these

documents were properly withheld on the basis of the attorney

client privilege.


     D.   Document 204


           Document 204 is William Pascale's handwritten notes of

a conference held on June 18, 2007 (Priv. Log at 8).         In my

August 28 Order, I found that this document was not generated to

provide legal advice and was "not created 'because of' antici-

pated or existing litigation" and as a result ordered it produced

(Schedule A).

           A re-examination of these handwritten notes, reveals

what appears to be a brief reference in the notes to Butler

Rubin's legal advice regarding the choice-of-law issue.         Accord-

ingly, upon reconsideration, I find that the three lines of

Document 204 at Bates number PRIV 4603 that begin "BR [Butler

Rubin] talked . . ." disclose counsel's analysis and opinion

regarding the choice-of-law issue and, accordingly, constitute

attorney work-product.    Therefore, the three lines described

above may be redacted from Document 204.




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     E.   Documents 224, 230, 231, 258, 259, 260, and 262


           Documents 224, 230, 231, 258, 259, 260, and 262 are a

series of emails between Ann Weikers, William Pascale and John

Parker of TIG and Catherine Isely and Jim Rubin of Butler Rubin.6

In my August 28 Order, I found that these emails were made in

preparation for the July audit of AIU and because the audit was

primarily a claims function, I held that these emails were not

prepared in anticipation of litigation (Schedule A).         I also

found that these emails were not between an attorney and client

"to provide or request legal advice" and consequently were not

protected by the attorney-client privilege (Schedule A).         TIG

contends that although these emails primarily relate to schedul-

ing a conference call, the emails also include a proposed agenda7

for the call with TIG's outside counsel and therefore TIG insists

that I "overlooked the predominantly legal nature of [these]

email[s] and the fact that [they were] prepared for purposes of

anticipated litigation" (Def. Mem. at 10).

           The agenda contained in these emails is of such a

general nature that it is unlikely that it would reveal any

confidential information to AIU.        However, upon reconsideration,


     6
      Michael Staley and Maureen Lemire are also copied on the
emails contained in Documents 259, 260, and 262.
     7
      The agenda is identical in Documents 224, 230, and 231 and
a slightly different agenda appears in Documents 258, 259, 260,
and 262.

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I have determined that this agenda does indicate the focus of an

attorney-client conversation related to the legal representation

in this case.    Compare United States v. ChevronTexaco Corp., 241

F. Supp.2d 1065, 1077 (N.D. Cal. 2002)("Notes a client would make

to prepare for a meeting with her lawyer -- notes which could

serve as an agenda or set of reminders about things to ask or

tell counsel" -- are privileged.); with Smithkline Beecham Corp.

v. Apotex Corp., 193 F.R.D. 530, 538 (N.D. Ill. 2000) (several

documents described as agendas for meetings are "very unlikely"

to implicate legal advice, "nor would such documents ordinarily

be expected to reveal confidential communications").         As a

result, the agenda is privileged and may be redacted from the

email chains contained in Documents 224, 230, 231, 258, 259, 260

and 262.


     F.    Documents 256, 257 and 261


            Documents 256, 257 and 261 contain an email from Bill

Pascale of TIG to James Rubin and Catherine Isely of Butler Rubin

inquiring as to their availability for a conference call regard-

ing the audit results (Priv. Log at 11).       TIG objects to the

production of these emails as part of its sweeping objection to

Documents 256-262 that they reveal the "precise issues to be

included in the conference calls" (Def. Mem. at 11).         While the

statements in these emails hardly reveal the precise issues to be


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discussed during the conference calls, they do indicate the scope

and focus of a legal communication between attorney and client

and therefore represent privileged communications.         The proposed

discussion topics contained in the first line of the email in

Document 256 labeled Priv 000211, Document 257 labeled PRIV 4106

and Document 261 labeled PRIV 4111 may be redacted such that the

first sentence ends with the words "to discuss."


     G.   Document 263


           Document 263 is an email from Ann Weikers to John

Parker and Bill Pascale of TIG and James Rubin and Catherine

Isely of Butler Rubin concerning conversations with Norm Reid, a

potential witness in this case (Priv. Log at 11).        The email

identifies the general nature of the conversation with Mr. Reid

and references his answer to a specific inquiry by TIG.         Ann

Weikers appears to be seeking Butler Rubin's advice as to whether

Mr. Reid's answer to this question may have legal ramifications.

Therefore, this email consists of a confidential attorney-client

communication for the purpose of legal representation and should

not be produced.


     H.   Documents 266, 267, 268, 269, 272, and 273


           Documents 266, 267, 268, 269, 272, and 273 consist of a

series of emails between Ann Weikers and Donna Gilliand of TIG


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and Catherine Isely of Butler Rubin.      In my August 28 Order, I

found that these emails involved "Weikers telling Gilliard she

might drop by office to get some commutation files" and therefore

held that the emails were "[m]erely [an] administrative communi-

cation." (Schedule A)    Upon re-examination of these emails, I

have determined that Isely was requesting that Weikers provide

her with certain documents out of the commutation files based on

specific criteria which she identified in the email.         These

emails, therefore, disclose counsel's opinion regarding which

files would be important in the upcoming litigation.         Moreover,

these emails were sent on July 31, 2007, approximately three

weeks after the audit of AIU's files and only seven days before

AIU filed the complaint in this case.       Given the factual situa-

tion at the time these emails were sent, counsel may fairly be

said to have been reviewing these documents in anticipation of

trial.   Therefore, counsel's opinion regarding which documents

out of the commutation files would be worth reviewing represent

attorney work-product and, accordingly, these documents should

not be produced.   See Matter of Grand Jury Subpoenas Dated Oct.

22, 1991, and Nov. 1, 1991, 959 F.2d 1158, 1166 (2d Cir. 1992)

(the work-product doctrine protects the attorney's selection and

compilation process in grouping certain documents together

because disclosure of this process would reveal the opposing

attorney's thinking or strategy), citing Gould Inc. v. Mitsui


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Mining & Smelting Co., 825 F.2d 676, 680 (2d Cir. 1987); Sporck

v. Peil, supra, 759 F.2d at 316.


     I.    Document 279


            Document 279 consists of the handwritten notes of

Michael Staley from a series of meetings that took place on May

7, May 31, June 19, July 17, and August 9, 2007.        Counsel was

present at all of these meetings except the July 17, 2007 meeting

(Priv. Log at 12).    In my August 28 Order, I determined that the

"[a]ttorney-client privilege attaches to the extent that the

notes reflect communication between Rubin and TIG employees

concerning legal issues" and ordered that Document 279 be pro-

duced with the exception of the page labeled PRIV 4505.

            Upon reexamination, I have determined that the pages

labeled PRIV 4504, PRIV 4506, PRIV 4508, and PRIV 4509 also

contain legal analysis.    The document labeled with Bates number

PRIV 4504 contains five issues discussed during the conference

call with counsel.    Items 1, 3 and 4 reflect counsel's advice

with regard to certain legal issues and therefore, these items

may be redacted prior to production.

            The final three lines of the notes on the page labeled

PRIV 4506 memorialize a conversation counsel had with a potential

witness.    These three lines concern counsel's legal representa-

tion of TIG and, therefore, this communication is protected by


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the attorney-client privilege.        Accordingly, these three lines

may be redacted prior to production.

             The notes on page labeled PRIV 4507 record the July 17,

2007 meeting at which counsel was not present.           This page of

notes is not protected and must be produced.

             Finally, almost all of the notes on the page labeled

PRIV 4508 concern legal issues and therefore this page is pro-

tected, in its entirety, by the attorney-client privilege.


IV.    Conclusion


             Accordingly, for all the foregoing reasons, my August

28 Order is hereby modified on reconsideration as follows: (1)

Documents 198, 199, 200, and 263 may be withheld in their en-

tirety on the basis of the attorney-client privilege; (2) Docu-

ments 266, 267, 268, 269, 272, and 273 may be withheld in their

entirety on the basis of the attorney work-product doctrine; (3)

lines 2-7 of Document 97 and lines 1-6 of Document 158 may be

redacted prior to production; (4) the titles of the two attached

documents may be redacted from Document 188; (5) the three lines

that begin "BR [Butler Rubin] talked . . ." may be redacted from

Document 204; (6) the agenda set forth in Documents 224, 230,

231, 259, 260, and 262 may be redacted; (7) the proposed discus-

sion topics contained in the first line of the email in Document

256 Bates number PRIV 000211, Document 257 Bates number PRIV 4106


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